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       In the United States Court of Federal Claims
                                        No. 10-403 C
                                  (E-Filed: April 10, 2015)

                                                      )
GOVERNMENT TECHNICAL                                  )
SERVICES, LLC,                                        )
                                                      )
                     Plaintiff,                       )
                                                      )
v.                                                    )
                                                      )
THE UNITED STATES,                                    )
                                                      )
                     Defendant.                       )
                                                      )

                                          ORDER

        By Order entered April 1, 2015, ECF No. 60, this court directed plaintiff to
respond to concerns raised by defendant regarding whether plaintiff intends to continue
prosecution of its claims and is represented by an attorney eligible to practice law in this
court in accord with Rule 83.1(a)(1)(A) of the Rules of the Court of Federal Claims.
Plaintiff’s response was due by April 8, 2015. Id. at 1. In its April 1, 2015 Order, the
court warned that “[i]f no response [wa]s timely received, the court intend[ed] to dismiss
this action for plaintiff’s ‘fail[ure] to prosecute or to comply with these rules or a court
order,’ which [would] operate as an adjudication on the merits.” Id. at 2 (quoting Rule
41(b)). Plaintiff’s deadline has passed, and the court has received no response.

       Plaintiff has failed to prosecute this action and to comply with court rules and this
court’s orders. This matter is hereby DISMISSED with prejudice. The Clerk shall enter
judgment accordingly.

       IT IS SO ORDERED.
                                                  s/ Patricia E. Campbell-Smith
                                                  PATRICIA E. CAMPBELL-SMITH
                                                  Chief Judge
